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  CJA 23
(Rev. 11/11)
                                                               FINANCIAL AFFIDAVIT
                                 IN SUPPORT OF REQUEST FOR ATTORNEY, EXPERT, OR OTHER SERVICES WITHOUT PAYMENT OF FEE
     IN THE UNITED STATES               ’ DISTRICT COURT              ’ COURT OF APPEALS             ’ OTHER (Specify below)
IN THE CASE OF                                                                                                                                    LOCATION NUMBER
                                                                     FOR
                            v.
                                                                     AT



  PERSON REPRESENTED (Show your full name)                                                           1   ’   Defendant - Adult                     DOCKET NUMBERS
                                                                                                     2   ’   Defendant - Juvenile               Magistrate Judge
                                                                                                     3   ’   Appellant
                                                                                                     4   ’   Probation Violator                 District Court
                                                                                                     5   ’   Supervised Release Violator
                                                                                                     5   ’   Habeas Petitioner                  Court of Appeals
  CHARGE/OFFENSE (describe if applicable & check boxÿ)               ’ Felony                        7   ’   2255 Petitioner
                                                                     ’ Misdemeanor                   8   ’   Material Witness
                                                                                                     9   ’   Other (Specify)


                                                    ANSWERS TO QUESTIONS REGARDING ABILITY TO PAY

                                 Are you now employed?               ’ Yes      ’ No      ’ Self-Employed
                                 Name and address of employer:
                                      IF YES, how much do you                                  IF NO, give month and year of last employment?
                                             earn per month? $                                           How much did you earn per month? $
                EMPLOY-
                MENT    If married, is your spouse employed?                    ’ Yes     ’ No
                                                                                                                   If you are a minor under age 21,
                                   IF YES, how much does your                                            what is the approximate monthly income
                                      spouse earn per month? $                                                 of your parent(s) or guardian(s)? $

                                 Have you received within the past 12 months any income from a business, profession or other form of self-employment, or in the
INCOME
   &
                                 form of rent payments, interest, dividends, retirement or annuity payments, or other sources?       ’ Yes ’ No
 ASSETS         OTHER                                                        RECEIVED                                            SOURCES
                INCOME                  IF YES, give the amount       $
                                         received and identify the    $
                                                          sources     $

                CASH             Do you have any cash on hand or money in savings or checking accounts?      ’ Yes ’ No IF YES, total amount? $

                                 Do you own any real estate, stocks, bonds, notes, automobiles, or other valuable property (excluding ordinary household furnishings
                                 and clothing)? ’ Yes ’ No
                                                                             VALUE                                            DESCRIPTION
                PROP-                    IF YES, give value and $
                ERTY                         description for each $
                                                                    $
                                                                    $

                                                       MARITAL STATUS                                List persons you actually support and your relationship to them
                                                        Single                         Total
                      DEPENDENTS                        Married                        No. of
                                                        Widowed                      Dependents
OBLIGATIONS                                             Separated or Divorced
     &                                                                                                                                                       MONTHLY
   DEBTS                                                                     DESCRIPTION                                     TOTAL DEBT                      PAYMENT
                      DEBTS &
                      MONTHLY BILLS                                                                                   $                                $
                      (Rent, utilities, loans,                                                                        $                                $
                      charge accounts, etc.)                                                                          $                                $
                                                                                                                      $                                $

I certify under penalty of perjury that the foregoing is true and correct.



                                    SIGNATURE OF DEFENDANT                                                                                      Date
                                       (OR PERSON REPRESENTED)




          Print                              Save As...                                                                                                    Reset
